 

 

Case 2:22-cv-02048-JAR-ADM Document 17-6 Filed'06/03/22 Page1of1

EXHIBIT

  

HIGHLAND COMMUNITY COLLEGE

 

July 26, 2019

Jered Ross
1306 Country Club Road
Atchison, KS 66002

Dear Jered:

This letter is to officially confirm your rate of pay as part-time Assistant Women’s Basketball Coach at
Highland Community College effective August 1, 2019. As compensation for this position, you will receive
$434.00 per month for 10 months beginning with the August 15, 2019, payroll.

In carrying out your duties, you will be responsible for knowing and adhering to all NICAA, Jayhawk
Conference, and College policies and rules.

Since this job is not full-time, the benefits made available to full-time employees, including health and.
dental insurance, do not apply. This is a not a KPERS covered position.

The purpose of this letter is only to confirm your compensation and is not an employment contract. This is
an at-will position and neither you nor Highland Community College is bound to continue the employment
if either chooses, at its will, to end the relationship at any time. However, if you decide to leave this position,
please provide a written confirmation which includes the last date you intend to work.

Sincerely,

DeboraklFox

President
ecg
ce: Tyler Nordman

B. J. Smith
Payroll

 

606 W. Main, Highland, Kansas 66035 | (788) 442-6000 | FAX (785) 442-6100 | www.highlandce,edu
